                                    ___
                             _____




  Case 2:10-cr-00366-ES           Document 63   Filed 06/23/10        Page 1 of 2 PageID: 122




                            UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                             Crim.    No.     10-366    (WI-lW)


              V.                                 :    Hon.    William H.       Walls


ANSELMO JIMENES,
 ak;a “Ansemo Jimenes”                           :    CONTINUANCE ORDER



      A criminal indictment charging the defendant with,                           among


other offenses,           conspiracy to obstruct interstate commerce by

armed robbery,        in violation of Title 18,              United States Code,

Section 1951(a)       ,    having been returned on May 25,              2010;    and the


defendant having been arraigned by this Court on June 15,                                 2010;

                                                                                            and
and the defendant being represented by Edward Sapone,                           Esa.;

the defendant currently being detained;                  and the defendant and his

                                                          trial
counsei being aware that the defendant has the right to a

within seventy            (70)   days of defendant’s arraignment on this

charge,      pursuant to Title 18,         United States Code,            Sectton


 3161 (b);    and no continuances having previously been granted by

 the Court;        the parties respectfully request a thirty                    (30)      day


 continuance pursuant to 18,              United States Code,           Section

 3161(h) (8) (A)      n order to permit the parties to engage in plea

                                                     trial and for
 neqotiatjons and try to resolve this matter without

 good cause shown;

       IT IS on this                      day of June,        2010,

       ORDERED that from the date of                 this Order,       to and including

 July 22,     2010,       shall be excluded in calculating the time within
trorn                                                                            6-1B—W 1i,31p    ?g   z
        Case 2:10-cr-00366-ES                  Document 63      Filed 06/23/10    Page 2 of 2 PageID: 123




                                                  Trial Act for
which this case must go to trial under the Speedy

the o11OWing reasons:

         l             Th defendant,               through his counsel,     has requested

                                                to resolve this
aditiona.1 time so that the parties can t’cempt
                                                      possible
matter through a. plea. agreement and thereby avoid a

 trial.

         2.               pursuant to Title 18,           United States Code,        Section

 3161(h) CS) (A),                      the ends of justice served by grd.nting the

                                                     and the
 continuance outweigh the best interest of the pulio

 defendant in a speedy trial.




                                                                                WAlLS
                                                        Un te        es Iistri ct Judge



  SEEN AND AGR,EED:
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  eric     Kan-rky, Esq.
          ‘.
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  Assista nt U.S. 7ttorney




  dward Sapon                      ,    Esq.
  Counsel for                          SELMO tMENS
